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UNITED STATES DISTRICT COURT SEP 12 2000
CLERK, U.S. DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA EASTERN DISTRICT OF CALIFORN!A
BY.

DEPUTY CLERK

JUDGMENT IN A CIVIL CASE

RUMSEY INDIAN RANCH

Vv. CASE NUMBER: CIV S-92-812 GEB

WILSON

XX -- Decision by the Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.
IT IS ORDERED AND ADJUDGED

THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
COURT'S ORDER OF SEPTEMBER 12, 2000.

Jack L. Wagner,
Clerk of the Court

ENTERED: September 12, 2000 Hg
by: 7 larts

K CARLOS, Deputy Clerk

307

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United States District Court
for the
Eastern District of California
September 12, 2000

* * CERTIFICATE OF SERVICE * *
2:92-cv-00812

Rumsey Indian Ranch
Vv.

Wilson

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on September 12, 2000, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

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